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    RECEIVED                     UNITED STATES DISTRICT COURT
        06/11/2024
                                 WESTERN DISTRICT OF KENTUCKY
KELLY L. STEPHENS, Clerk              LOUISVILLE DIVISION


       THE HONORABLE ORDER OF
       KENTUCKY COLONELS, INC.,                                                              Plaintiff,

       v.                                                          Civil Action No. 3:20-cv-132-RGJ

       KENTUCKY COLONELS
       INTERNATIONAL et al.,                                                             Defendants.


                                                 * * * * *

                                                  ORDER

             Pro se Defendants Ecology Crossroads Cooperative Foundation, Inc. and its subsidiary

      Globcal International, move for an order waving the filing fees associated with their notice of

      appeal. [DE 152]. Pro se Defendants are not represented by counsel. The notice of appeal and

      motion was filed by pro se Defendant David J. Wright. Plaintiff, The Honorable Order of Kentucky

      Colonels, Inc. (“HOKC”), filed a motion to strike the Notice of Appeal and Motion to Waive

      Filing Fees. [DE 153]. For the reasons below, Plaintiff’s motion to strike is GRANTED and the

      corporate Defendants’ pro se notice of appeal and motion for waiver of filing fees are STRICKEN.

             Corporations cannot appear pro se in federal court and must retain counsel. See Rowland

      v. California Men’s Colony, Unit II Men’s Advisory Council, 506 U.S. 194, 201–03 (1993) (“a

      corporation may appear in the federal courts only through licensed counsel.”); [DE 46 at 1017].

      The Court has held in both Kentucky Colonels I and Kentucky Colonels II that Wright may not

      respond on behalf of Corporate Defendants and his filings on their behalf will not be considered.

      [DE 32 at 808; DE 105 at 3363; DE 149 at 3941]. See also Escue v. Bradley Power & Air, LLC,

      No. 214CV02372JTFTMP, 2014 WL 12607110 (W.D. Tenn. Nov. 10, 2014) (striking a pleading



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offered by a pro se defendant on behalf of a corporate defendant). Therefore, Plaintiff’s motion

to strike [DE 153] is GRANTED, and pro se corporate Defendants’ notice of appeal [DE 151] and

motion for waiver of filing fees [DE 152] are STRICKEN FROM THE RECORD.




                                                June 11, 2024




Copies to:    Defendant, pro se
              Sixth Circuit Court of Appeals, Case No. 24-5511




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